 4:22-cv-03191-JMG-JMD Doc # 101 Filed: 07/12/24 Page 1 of 2 - Page ID # 2524



                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEBRASKA


In Re:

Data Security Cases Against NELNET
SERVICING, LLC,                                            Case No. 4:22-cv-3191

         Defendant.




                      INTERVENORS’ MOTION FOR CLARIFICATION

         Intervenors Kathleen Carr, Keegan Killory, and Kelsie Powell (collectively, “Intervenors”)

respectfully move the Court to clarify its July 3, 2024, Order (ECF No. 100, the “Order”) adopting

the Magistrate Judge’s Findings, Recommendation, and Order (ECF No. 98, the

“Recommendation”).

         At paragraph two of the Court’s Order it states, “[t]he intervenors’ informal request for

injunctive relief is denied.” ECF No. 100 (emphasis added). However, the Magistrate Judge’s

Recommendation states, “IT IS RECOMMENDED to the Honorable John M. Gerrard, Senior

United States District Judge, pursuant to 28 U.S.C. § 636(b), that Plaintiffs’ informal requests for

an injunction pursuant to the All Writs Act be denied.” See ECF No. 98 at p. 11 (emphasis added).

         Intervenors respectfully request clarification regarding if the second numbered paragraph

of the Court’s Order should read, “Plaintiffs’ informal request for injunctive relief is denied.”

Dated: July 12, 2024                                  Respectfully submitted,

                                                      /s/ William B. Federman
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 4:22-cv-03191-JMG-JMD Doc # 101 Filed: 07/12/24 Page 2 of 2 - Page ID # 2525



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                                                   Counsel for the Intervenors



                               CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2024, a true and correct copy of the foregoing was

electronically filed with the Clerk of Court using CM/ECF. Copies of the foregoing document will

be served upon interested counsel via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                                   /s/ William B. Federman
                                                   William B. Federman




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